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                     Exhibit 20
          to Declaration of Rachel Doughty
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    the Forest Service, that the water extracted is excess to the current and reasonably foreseeable
    future needs of forest resources.

Both BlueTriton’s application materials and its subsequent correspondence recognize that
conditions in Strawberry Canyon have significantly changed since our last evaluation in 2018.
Given these changing circumstances, BlueTriton’s application materials are insufficient to
demonstrate compliance with the current Land Management Plan.

Of greater concern, as I explained in my prior correspondence, is that BlueTriton refuses to provide
sufficient information about the uses of the waters being taken from the SBNF to assure that they
are in compliance with California law. Compliance with State law in regards to water rights and
uses is a precondition to the issuance of any special use permit.

        2.) The purpose of the use must be the same for which it was authorized.
The 2018 Decision Memo signed by Ranger Joseph Rechsteiner documented that “Nestlé’s project
purpose is to continue to operate and maintain the existing system to supply bottled drinking water for
retail sale.” Similarly, your most recent application explicitly described the purpose of the requested
“Business Facilities” as being “to supply bottled drinking water for retail purposes.”
Despite this proclaimed and documented purpose, BlueTriton’s reporting shows that 94-98% of the total
diverted monthly volume was delivered to the Arrowhead Springs Hotel property for undisclosed
purposes, rather than for the purpose of supplying bottled drinking water as described in the permit and
application. In fact, for months BlueTriton has indicated it has bottled none of the water taken from the
SBNF. This change of diversion and use of the water remains completely ahistoric, despite BlueTriton’s
contrary assertions. This volume increase from 4.5 million gallons in December of 2023 to 9.5 million
gallons in May of 2024 represents a significant trend of substantial amounts of water used for
unauthorized purposes. This increase represents significantly more water than has ever been delivered
previously with seemingly no change of the uses of the Arrowhead property. As we have noted, the
recipient property to our knowledge has no irrigated agriculture, no industrial uses, no residences, and no
municipalities. The hotel and conference facility on the property is not operating, and there is no
explanation of where the millions of gallons of water per month are going. As explained in prior
correspondences, such an unprecedented volume of water must be explained in sufficient detail. Still,
after several requests from the Forest Service and ample time to provide the requested information,
BlueTriton failed to provide any explanation and asserted that responsibility lies with the Tribe. To be
clear, BlueTriton is the current permit holder and applicant for the new permit. BlueTriton is therefore
solely responsible for complying with the terms of the permit and also for providing information
necessary for its application.
        3.) The holder must be in compliance with the terms and conditions of the authorization.
BlueTriton’s previous special use authorization FCD728503 stipulates that “Any change in a water
facility, including a change in the ownership or beneficial use of water or location of use of water from a
water facility, that is not expressly Authorized in this permit shall result in termination of the
authorization for that water facility.”
As discussed in point 2 above, there has been a change in both the beneficial use of water and the location
of that use. This constitutes a violation of the current permit and basis for termination. 36 C.F.R. §
251.60. It also provides independent reason to deny BlueTriton’s application.
For all of these reasons, I have decided to deny BlueTriton’s application. This determination regarding the
denial of your application is final and not subject to administrative appeal because your permit did not
provide for renewal (36 CFR 214.5; compare 36 CFR 214.4(c)(5)).




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Because your application has been denied, the previous authorization FCD728503 has terminated. (See
paragraph I.C.). Termination of the permit is not subject to administrative appeal. (See paragraph VII.D.
and 36 C.F.R. § 251.60.)
I am hereby notifying BlueTriton Brands, Inc. that all use of Forest System lands, including the operation
and maintenance of a water collection/water transmission system on USFS lands, must stop immediately.
BlueTriton is required to complete the following:
    1. Within seven (7) days of the date of this letter, take any necessary steps to stop use of the
       BlueTriton pipeline for water conveyance in Strawberry Canyon, by severing or blocking the pipe
       at each tunnel or borehole (1, 1A, 8, 7, 7A, 7B, 7C, 2, 3, 10, 11, 12), or other such means as to
       bypass all flow to the surface from each point of diversion. Provide a confirmation to me via
       email immediately following the completion of step 1. Include photo documentation with the
       statement.
    2. Remove locks from all BlueTriton equipment on SBNF land. Alternatively, it will be sufficient to
       provide the USFS with copies of all keys. If this alternative is chosen, the BlueTriton will arrange
       to hand over keys on site. This step shall be completed within two (2) weeks of the date of this
       letter.
    3. Prepare and submit a plan to remove its infrastructure from SBNF lands. The plan shall be
       submitted within twelve (12) weeks of the date of this letter and shall include a time frame for
       complete removal. Infrastructure to include in the removal plan:
             a. All stainless steel pipes and structural scaffolding installed after 1974.
             b. All valves, valve cages, and support structures.
             c. All electronic monitoring and power equipment
             d. Any discharge, bypass, and/or hydropower equipment
The plan should not include the removal of vault houses or any of the structures made of stone.
BlueTriton shall not perform any infrastructure removal work until the USFS has approved the plan.
Please direct any questions or concerns directly to me, or to your permit administrator David Anderson.
Sincerely,




Michael Nobles
DISTRICT RANGER
San Bernardino National Forest




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